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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

In re:                                                   §    Chapter 11
                                                         §
ZENERGY BRANDS, INC., et al,1                            §    Case No. 19-42886
                                                         §
                           Debtors.                      §    (Jointly Administered)
                                                         §
                                                         §
                                                         §    Hearing Date: November 18, 2019
                                                         §    Hearing Time: 1:30 p.m.
                                                         §    660 N. Central Expressway, 3rd Floor
                                                         §    Plano, Texas 75074
                                                         §

                          WITNESS AND EXHIBIT LIST OF THE
                     OFFICIAL UNSECURED CREDITORS' COMMITTEE


       The Official Unsecured Creditors' Committee (the "Committee") for Zenergy Brands, Inc.
("Zenergy") and its debtor affiliates (collectively, the "Debtors") hereby submits its Witness and
Exhibit List for the hearing on November 18, 2019 at 1:30 p.m. (the "Hearing") as follows:

                                                 WITNESSES

         1.      Joshua Campbell, President and Director of Zenergy Brands, Inc.
         2.      Brett Rosen, Committee Member.
         3.      Michael Ziegler, Committee Member.
         4.      Ashley Gee, Committee Member.
         5.      Any witness designated by any other party.
         6.      Any impeachment or rebuttal witnesses.
         7.      The Committee reserves the right to amend this designation as appropriate.

                                                  EXHIBITS

EXHIBIT DESCRIPTION OF EXHIBIT                                                      OFFERED OBJECTION ADMITTED


  1      Local Rules of Bankruptcy Procedure of the United States
         Bankruptcy Court for the Eastern District of Texas, including
         any Appendices thereto


1 The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax

identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC (8045);
Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and Zen
Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano, TX 75024.

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  2     Declaration of Joshua Campbell in Support of Chapter 11 Petitions and
        First Day Motions [Dkt. No. 10]

  3     Debtors' Emergency Motion For Entry Of Interim And Final Orders
        (I) Authorizing The Debtors To Obtain Post-Petition Financing,
        Granting Senior Postpetition Security Interests And According
        Superpriority Administrative Expense Status Pursuant To Sections
        364(c) And 364(d) Of The Bankruptcy Code; (II) Authorizing The Use
        Of Cash Collateral; (III) Granting Adequate Protection; (IV) Modifying
        The Automatic Stay; And (V) Granting Related Relief [Dkt. No. 19]
        (the "DIP Motion")

  4     Interim Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364 and
        507 (I) Approving Post-Petition Financing, (II) Authorizing Use of Cash
        Collateral, (III) Granting Liens and Providing Superpriority
        Administrative Expense Status, (IV) Granting Adequate Protection, (V)
        Modifying Automatic Stay, (VI) Granting Related Relief, and (VII)
        Scheduling a Final Hearing [Dkt. No. 61]

  5     Appointment of Official Unsecured Creditors' Committee [Dkt. No. 69]

  6     Application to Employ Kane Russell Coleman Logan PC as Counsel for
        the Official Unsecured Creditors' Committee [Dkt. No. 80]

  7     Committee's forthcoming Objection to Debtors' DIP Motion
        [Dkt. No. ___]

  8     Investment Banking Services Agreement dated August 22, 2018,
        between Zenergy and TCA Capital International Group or TCA
        Global Credit Master Fund, LP ("TCA Global") and/or its
        affiliates or designates

  9     Securities Purchase Agreement dated December 24, 2018, between
        Zenergy and TCA Global

  10    Senior Secured, Convertible, Redeemable Debenture in the principal
        amount of $1,750,000, dated December 24, 2018, between
        Zenergy and TCA Global

  11    Senior Secured, Convertible, Redeemable Debenture (Fee Debenture) in
        the principal amount of $16,000, dated December 24, 2018, and
        maturing on December 24, 2020, between Zenergy and TCA
        Global

  12    Senior Secured, Convertible, Redeemable Debenture (Fee Debenture) in
        the principal amount of $16,000, dated December 24, 2018, and
        maturing on June 24, 2021, between Zenergy and TCA Global


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  13    Security Agreement dated December 24, 2018, by Zenergy, as
        borrower, in favor of TCA Global

  14    Security Agreement dated December 24, 2018, by Zen
        Technologies, Inc., Zenergy Power & Gas, Inc., NAUP
        Brokerage, LLC, Zenergy Labs, LLC, Zenergy & Associaties,
        Inc., Alex Rodriguez and Sonya M. Rodriguez, as guarantors, in
        favor of TCA Global

  15    Guaranty Agreement dated December 24, 2018, by Zen
        Technologies, Inc., Zenergy Power & Gas, Inc., NAUP
        Brokerage, LLC, Zenergy Labs, Inc., Zenergy & Associaties,
        Inc., Alex Rodriguez and Sonya M. Rodriguez, as guarantors, in
        favor of TCA Global

  16    Promissory Note in the amount $1,947,463.41 dated March 29,
        2019, between Zenergy, as borrower, and TCA Global, as
        lender, and Security Agreement related thereto

  17    Promissory Note in the amount $68,000.00 dated May 9, 2019,
        between Zenergy, as borrower, and TCA Global, as lender, and
        Security Agreement related thereto

  18    Promissory Note in the amount $63,175.00 dated May 22, 2019,
        between Zenergy, as borrower, and TCA Global, as lender, and
        Security Agreement related thereto

  19    Promissory Note in the amount $100,000.00 dated June 19, 2019,
        between Zenergy, as borrower, and TCA Global, as lender, and
        Security Agreement related thereto

  20    Promissory Note in the amount $34,175.00 dated July 3, 2019,
        between Zenergy, as borrower, and TCA Global, as lender, and
        Security Agreement related thereto

  21    Promissory Note in the amount $34,175.00 dated July 12, 2019,
        between Zenergy, as borrower, and TCA Global, as lender, and
        Security Agreement related thereto

  22    Promissory Note in the amount $66,700.00 dated July 18, 2019,
        between Zenergy, as borrower, and TCA Global, as lender, and
        Security Agreement related thereto

  23    Promissory Note in the amount $75,000.00 dated October 10,
        2019, between Zenergy, as borrower, and TCA Global, as
        lender, and Security Agreement related thereto



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  24    Pledge and Escrow Agreement dated December 24, 2018, between
        (i) Alex Rodriguez, as pledgor, (ii) Zenergy, and (iii) TCA
        Global, as secured party

  25    Pledge and Escrow Agreement dated December 24, 2018, between
        (i) Zenergy, as pledgor, (ii) NAUP Brokerage LLC, and (iii)
        TCA Global, as secured party

  26    Pledge and Escrow Agreement dated December 24, 2018, between
        (i) Zenergy, as pledgor, (ii) Zen Technologies, Inc., and (iii)
        TCA Global, as secured party

  27    Pledge and Escrow Agreement dated December 24, 2018, between
        (i) Zenergy, as pledgor, (ii) Zenergy & Associates, Inc., and (iii)
        TCA Global, as secured party

  28    Pledge and Escrow Agreement dated December 24, 2018, between
        (i) Zenergy, as pledgor, (ii) Zenergy Labs, LLC, and (iii) TCA
        Global, as secured party

  29    Pledge and Escrow Agreement dated December 24, 2018, between
        (i) Zenergy, as pledgor, (ii) Zenergy Power & Gas, Inc., and (iii)
        TCA Global, as secured party

  30    Judgment by Confession signed on December 19, 2018, by Alex
        Rodriguez in favor of TCA Global

  31    Letter of Resignation dated August 25, 2019, from Alex
        Rodriguez to Zenergy

  32    Zenergy's Form 10-K filed with the United States Securities and
        Exchange Commission (the "SEC") for the fiscal year ending
        December 31, 2018

  33    Zenergy's Form 10-Q filed with the SEC for the quarterly
        period ending March 31, 2019

  34    Zenergy's Form 8-K filed with the SEC on August 25, 2019

  35    Schedule 14C filed by Zenergy with the SEC on May 14, 2018
        (being the same document referenced in Zenergy's Form 8-K
        that was filed with the SEC on August 25, 2019)

        Any other documents, agreements, or contracts concerning
        referenced in any of Debtors' filings in these bankruptcy cases

        Dockets from Debtors' bankruptcy cases


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        Any other pleadings, reports, or other documents filed in these
        bankruptcy cases

        All attachments or exhibits to any of the foregoing documents

        Any exhibits designated by any other party

        Any impeachment or rebuttal exhibits

        The Committee reserves the right to limit any exhibits to
        redacted form

        The Committee reserves the right to amend or supplement this Witness and Exhibit list at

any time prior to the Hearing.


Dated: November 13, 2019                              Respectfully submitted,

                                                      KANE RUSSELL COLEMAN LOGAN PC

                                                      By:     /s/ Joseph M. Coleman
                                                              Joseph M. Coleman
                                                              State Bar No. 04566100
                                                              S. Kyle Woodard
                                                              State Bar No. 24102661

                                                      901 Main Street, Suite 5200
                                                      Dallas, Texas 75202
                                                      (214) 777-4200 (Telephone)
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                                                      E-mail: jcoleman@krcl.com
                                                      E-mail: kwoodard@krcl.com

                                                      Proposed Counsel for the Official
                                                      Committee of Unsecured Creditors

                                    CERTIFICATE OF SERVICE

        I hereby certify that on November 13, 2019: (a) a true and correct copy of the foregoing
document was served via the Court's electronic filing system (ECF) upon all parties receiving such
service in this bankruptcy case; and (b) true and correct copies of all foregoing exhibits were served
upon counsel for the Debtor via email to jhaake@foley.com and mhelt@foley.com and upon
counsel for TCA Global via email to bss@slp.law.

                                                              /s/ Joseph M. Coleman
                                                              Joseph M. Coleman

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